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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law
                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                       Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                   Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                                                               Adversary Case No. 21-01167-abl
                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND                              PLAINTIFF’S EX PARTE MOTION
                                                      15   INTERNATIONAL SP,                                        TO EXCEED PAGE LIMIT
                                                                                                                 PURSUANT TO LR 9014(E) RE:
                                                      16                         Plaintiff,                    PLAINTIFF HASELECT-MEDICAL
                                                                                                                  RECEIVABLES LITIGATION
                                                      17   v.                                                  FINANCE FUND INTERNATIONAL
                                                                                                               SP’S OPPOSITION TO TECUMSEH-
                                                      18   TECUMSEH–INFINITY MEDICAL                           INFINITY MEDICAL RECEIVABLE
                                                           RECEIVABLES FUND, LP,                                   FUND, LP’S MOTION FOR
                                                      19                                                        PARTIAL SUMMARY JUDGMENT
                                                                                Defendant.                        AS TO CERTAIN DISPUTED
                                                      20                                                                RECEIVABLES
                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22
                                                                               Counter-Claimant,
                                                      23
                                                           v.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      26
                                                                                Counter-Defendant.
                                                      27

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                                                       1   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                       2   INTERNATIONAL SP,
                                                       3                          Counter-Claimant,
                                                       4   v.
                                                       5   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       6
                                                                                 Counter-Defendant.
                                                       7

                                                       8          Plaintiff HASelect-Medical Receivables Litigation Finance Fund International SP

                                                       9   (“Plaintiff” or “HASelect”), by and through its undersigned counsel of record, hereby submits this

                                                      10   Ex Parte Application for an extension of the applicable page limit for its Opposition (the

                                                      11   “Opposition”) to Tecumseh-Infinity Medical Receivables Fund, LP’s (“Tecumseh”) Motion for
              1731 Village Center Circle, Suite 150




                                                      12   Partial Summary Judgment as to Direct Purchase Receivables [ECF No. 90] (the “Motion”) to be
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                           filed on September 30, 2022.
                        (702) 471-7432




                                                      13

                                                      14          Good cause exists to extend the page limit for HASelect’s Opposition. As the Court is well

                                                      15   aware, this is a complex matter that involves multiple claims arising out of the convoluted and almost

                                                      16   certainly fraudulent business affairs of Debtor Infinity Capital Management, Inc. (“Infinity”).

                                                      17   HASelect and Tecumseh, which was formed in 2020 by former two employees of Griffin Asset

                                                      18   Management LLC (“GAM”), which serves as asset manager to HASelect, have asserted competing

                                                      19   claims to over 8,000 accounts receivable with a face value in excess of $25 million that Infinity

                                                      20   purchased or funded through transactions with over 100 different medical providers with whom

                                                      21   Infinity entered into separate written contracts the terms of which vary widely and for which

                                                      22   hundreds of thousands, if not millions, of documents, emails, and other records were created.

                                                      23          Moreover, the equitable relief sought by Tecumseh through the Motion raises serious

                                                      24   concerns regarding Tecumseh’s own conduct in its dealings with Infinity as well as the conduct of

                                                      25   Tecumseh’s principals in their dealings relating to GAM and HASelect that must be addressed in

                                                      26   the Opposition. Similarly, Infinity’s haphazard practices in handling funds received through loans

                                                      27   from HASelect as well as collections on accounts receivable that served as collateral for HASelect’s

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                                                       1   loans to Infinity raise additional issues that must be addressed to refute Tecumseh’s claims that it
                                                       2   actually purchased the accounts receivable at issue, not Infinity.
                                                       3          Given the complex claims and extensive evidence at issue, the 20-page limit under Local
                                                       4   Rule 9014(e)(1) is insufficient in this instance to adequately address the issues raised in Tecumseh’s
                                                       5   Motion. Accordingly, HASelect requests leave to file its Opposition with no more than 35 pages of
                                                       6   legal and factual analysis and argumenst, excluding the case caption and certification of mailing.
                                                       7          Based on the foregoing, HASelect respectfully requests that the Court enter an order in
                                                       8   substantially the same form as the proposed order attached hereto as Exhibit 1 granting HASelect
                                                       9   leave, pursuant to Local Rule 9014(e)(1), to file the Opposition with no more than 35 pages of legal
                                                      10   and factual analysis and argument.
                                                      11          Dated this 30th day of September 2022.
              1731 Village Center Circle, Suite 150




                                                                                                              SHEA LARSEN
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                              /s/ Bart K. Larsen, Esq.
                        (702) 471-7432




                                                      13
                                                                                                              BART K. LARSEN, ESQ.
                                                      14                                                      Nevada Bar No. 8538
                                                                                                              KYLE M. WYANT, ESQ.
                                                      15                                                      Nevada Bar No. 14652
                                                                                                              1731 Village Center Circle, Suite 150
                                                      16
                                                                                                              Las Vegas, Nevada 89134
                                                      17
                                                                                                              Attorneys for HASelect-Medical Receivables
                                                      18                                                      Litigation Finance Fund International SP

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                                                           Case 21-01167-abl        Doc 121   Entered 09/30/22 23:29:19        Page 4 of 9



                                                                                           CERTIFICATE OF SERVICE
                                                       1

                                                       2        1.    On September 30, 2022, I served the following document(s): PLAINTIFF’S EX
                                                                      PARTE MOTION TO EXCEED PAGE LIMIT PURSUANT TO LR 9014(E)
                                                       3              RE: PLAINTIFF HASELECT-MEDICAL RECEIVABLES LITIGATION
                                                                      FINANCE FUND INTERNATIONAL SP’S OPPOSITION TO TECUMSEH-
                                                       4              INFINITY MEDICAL RECEIVABLE FUND, LP’S MOTION FOR PARTIAL
                                                                      SUMMARY JUDGMENT AS TO CERTAIN DISPUTED RECEIVABLES.
                                                       5

                                                       6        2.    I served the above document(s) by the following means to the persons as listed below:

                                                       7              ց        a.       ECF System:
                                                       8              CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                       9              clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com

                                                      10              GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                      RECEIVABLES FUND, LP
                                                      11              ggordon@gtg.legal, bknotices@gtg.legal
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134




                                                                      GABRIELLE A. HAMM on behalf of TECUMSEH-INFINITY MEDICAL
SHEA LARSEN




                                                                      RECEIVABLES FUND, LP
                        (702) 471-7432




                                                      13
                                                                      ghamm@Gtg.legal, bknotices@gtg.legal
                                                      14
                                                                      MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                      15              RECEIVABLES FUND, LP
                                                                      michael.napoli@akerman.com,
                                                      16
                                                                      cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
                                                      17              @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com

                                                      18              ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                                                                      RECEIVABLES FUND, LP
                                                      19              ariel.stern@akerman.com, akermanlas@akerman.com
                                                      20
                                                                      տ        b.       United States mail, postage fully prepaid:
                                                      21
                                                                      տ        c.       Personal Service:
                                                      22

                                                      23              I personally delivered the document(s) to the persons at these addresses:

                                                      24                              տ        For a party represented by an attorney, delivery was made by
                                                                      handing the document(s) at the attorney’s office with a clerk or other person in
                                                      25              charge, or if no one is in charge by leaving the document(s) in a conspicuous place in
                                                      26              the office.

                                                      27

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                                                                                      տ      For a party, delivery was made by handling the document(s) to
                                                       1
                                                                      the party or by leaving the document(s) at the person’s dwelling house or usual place
                                                       2              of abode with someone of suitable age and discretion residing there.

                                                       3              տ       d.     By direct email (as opposed to through the ECF System):
                                                                      Based upon the written agreement of the parties to accept service by email or a court
                                                       4
                                                                      order, I caused the document(s) to be sent to the persons at the email addresses listed
                                                       5              below. I did not receive, within a reasonable time after the transmission, any
                                                                      electronic message or other indication that the transmission was unsuccessful.
                                                       6
                                                                      տ        e.       By fax transmission:
                                                       7

                                                       8              Based upon the written agreement of the parties to accept service by fax transmission
                                                                      or a court order, I faxed the document(s) to the persons at the fax numbers listed
                                                       9              below. No error was reported by the fax machine that I used. A copy of the record of
                                                                      the fax transmission is attached.
                                                      10

                                                      11              տ        f.       By messenger:
              1731 Village Center Circle, Suite 150




                                                      12              I served the document(s) by placing them in an envelope or package addressed to the
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                      persons at the addresses listed below and providing them to a messenger for service.
                        (702) 471-7432




                                                      13
                                                                      I declare under penalty of perjury that the foregoing is true and correct.
                                                      14

                                                      15              Dated: September 30, 2022.

                                                      16                                                By: /s/ Bart K. Larsen, Esq,

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                                       EXHIBIT 1
                                                           Case 21-01167-abl       Doc 121    Entered 09/30/22 23:29:19   Page 7 of 9



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                                                       7   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       8   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       9   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                      10   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                      11   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
              1731 Village Center Circle, Suite 150




                                                      12           kwyant@shea.law
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Attorneys for HASelect-Medical Receivables
                        (702) 471-7432




                                                           Litigation Finance Fund International SP
                                                      14
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                      15
                                                                                              DISTRICT OF NEVADA
                                                      16
                                                           In re:
                                                      17                                                       Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                   Chapter 7
                                                      18
                                                                                 Debtor.                       Adversary Case No. 21-01167-abl
                                                      19

                                                      20   HASELECT-MEDICAL RECEIVABLES                         ORDER GRANTING PLAINTIFF’S
                                                           LITIGATION FINANCE FUND                              EX PARTE MOTION TO EXCEED
                                                      21   INTERNATIONAL SP,                                    PAGE LIMIT PURSUANT TO LR
                                                                                                                  9014(E) RE: OPPOSITION TO
                                                      22                         Plaintiff,                     TECUMSEH-INFINITY MEDICAL
                                                                                                                   RECEIVABLE FUND, LP’S
                                                      23   v.                                                       MOTION FOR PARTIAL
                                                                                                                 SUMMARY JUDGMENT AS TO
                                                      24   TECUMSEH–INFINITY MEDICAL                                  DIRECT PURCHASE
                                                           RECEIVABLES FUND, LP,                                         RECEIVABLES
                                                      25
                                                                                Defendant.
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                                                       1   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       2
                                                                                Counter-Claimant,
                                                       3
                                                           v.
                                                       4
                                                           HASELECT-MEDICAL RECEIVABLES
                                                       5   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                       6
                                                                                 Counter-Defendant.
                                                       7

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                                                           HASELECT-MEDICAL RECEIVABLES
                                                       9   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      10
                                                                                 Counter-Claimant,
                                                      11
              1731 Village Center Circle, Suite 150




                                                           v.
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                           TECUMSEH–INFINITY MEDICAL
                        (702) 471-7432




                                                      13   RECEIVABLES FUND, LP,
                                                      14                         Counter-Defendant.
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                                                                  The Court, having reviewed and considered Plaintiff HASelect-Medical Receivables
                                                      16
                                                           Litigation Finance Fund International SP (“Plaintiff” or “HASelect”) Ex Parte Motion to Exceed
                                                      17
                                                           Page Limit Pursuant to LR 9014(e) Re: Opposition to Motion for Partial Summary Judgment as to
                                                      18
                                                           Direct Purchase Receivables (the “Ex Parte Motion”), and good cause appearing therefore:
                                                      19
                                                                  IT IS HEREBY ORDERED that the Ex Parte Motion is GRANTED, and HASelect may file
                                                      20
                                                           its Opposition in excess of the page limits in LR 9014(e) to include a maximum of up to thirty-five
                                                      21
                                                           (35) pages of factual and legal analysis and arguments.
                                                      22
                                                                  IT SO ORDERED.
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                                                           Case 21-01167-abl       Doc 121    Entered 09/30/22 23:29:19   Page 9 of 9




                                                       1   Prepared and Submitted By:
                                                       2   SHEA LARSEN
                                                       3
                                                           /s/ Bart K. Larsen
                                                       4   Bart K. Larsen, Esq.
                                                           1731 Village Center Circle, Suite 150
                                                       5   Las Vegas, Nevada 89134
                                                       6   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       7

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              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




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